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  10
                                UNITED STATES DISTRICT COURT
  11
                            CENTRAL DISTRICT OF CALIFORNIA
  12
  13
       YALCIN AYASLI                               Case No. 2:20-cv-09388-CAS-PD
  14
                                                   NOTICE OF MOTION AND
  15               Plaintiff,                      MOTION TO DISMISS FOR
                                                   INSUFFICIENT SERVICE OF
  16                                               PROCESS
             v.
  17                                               Judge: Hon. Christina A. Snyder
                                                   Hearing Date: October 17, 2022
  18 SEZGIN BARAN KORKMAZ, et al.                  Hearing Time: 10:00 am
  19                                               Complaint Filed: October 10, 2020
                   Defendants.                     Trial Date: None Set
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                                                                          Case No. 2:20-cv-09388
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                 1        TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
                 2        PLEASE TAKE NOTICE that on October 17, 2022, at 10:00 am or as soon
                 3 thereafter as the matter may be heard in Courtroom 8D of the United States District
                 4 Court for the Central District of California, defendant Fatih Akol will and hereby does
                 5 move for an order dismissing him from this case based on untimely and inexcusably
                 6 insufficient service of process.
                 7        This Motion is made pursuant to Rules 12(b)(5) and 4(m) of the Federal Rules of
                 8 Civil Procedure on the grounds that Mr. Akol’s service of process was invalid and
                 9 untimely, making dismissal without prejudice appropriate here. This Motion is made
               10 following conferences of counsel pursuant to L.R. 7-3, which took place over Zoom on
               11 August 23, 2022 and September 9, 2022. The parties were not able to reach a
               12 resolution that would eliminate the need for this Motion.
               13         This Motion is based on this Notice of Motion and Motion; the accompanying
               14 Memorandum of Points and Authorities; and the simultaneously filed declaration of
               15 Fatih Akol.
               16
               17
               18 DATED: September 9, 2022               QUINN EMANUEL URQUHART &
                                                         SULLIVAN, LLP
               19
               20
               21                                         By
               22                                              Harvey J. Wolkoff
                                                               Diane Cafferata
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    1                                  INTRODUCTION
    2        Originally filed February 18, 2019, this case comes before the Court by way of
    3 transfer almost two years ago from the District of New Hampshire. Since then,
    4 Plaintiff has done almost nothing in this case besides filing an Amended Complaint
    5 immediately after the filing of Mr. Akol’s Motion to Dismiss on August 31, 2022. See
    6 Dkt 131. Prior to transfer, the District of New Hampshire concluded it had no personal
    7 jurisdiction over Mr. Akol in New Hampshire. Dkt. 73. Therefore, it had no power to
    8 issue binding orders as to him. For that reason, the District of New Hampshire’s
    9 minute order allowing service of process via email on Mr. Akol is not valid. And
  10 because Mr. Akol was served by email and only by email in the New Hampshire case,
  11 and never served again since transfer, he has never received valid service of process.
  12 Because Mr. Akol has never been validly served, and since the 90-day deadline for that
  13 service passed years ago, he should be dismissed pursuant to Fed. R. Civ. P. 12(b)(5)
  14 and Fed. R. Civ. P. 4(m) for untimely and inexcusably insufficient service of process.
  15                              FACTUAL BACKGROUND
  16         Fatih Akol is a Turkish national. Dkt. 131 ¶ 50. Plaintiff Yalcin Ayasli is a
  17 Turkish and American citizen resident in New Hampshire. Dkt. 131 ¶¶ 15-16. BoraJet
  18 is a Turkish regional airline, wholly owned by Plaintiff until he approved its sale in
  19 December 2016. Id. ¶¶ 506-507. Mr. Akol became the General Manager of BoraJet at
  20 some point during Plaintiff’s ownership of the company. Id. ¶ 51.
  21         In December 2016, Ayasli asked Akol to begin efforts to sell BoraJet because of
  22 his mounting financial difficulties. Id. ¶ 580. Ayasli admits that the Company had at
  23 least $59 million in debts when as BoraJet’s sole owner, he signed an agreement on
  24 December 29, 2016 to sell the company to Bugaraj, a subsidiary of SBK Turkey. Id.
  25 ¶¶ 596, 599. Bugaraj agreed to take on portions of BoraJet’s significant debt. Id.
  26 ¶ 601. Following the sale, Defendant Sezgin Baran Korkmaz, who is purported to have
  27 control and influence over SBK Turkey (which bears his initials), allegedly threatened
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    1 Mr. Akol. Id. ¶¶ 20-21, 721-22. Korkmaz also told Plaintiff and others that he had
    2 assaulted Mr. Akol. Id. ¶¶ 721-22.
    3        Nonetheless, in February 2019, Plaintiff filed his Complaint accusing Mr. Akol
    4 for the first time of participating in a criminal scheme, with Mr. Korkmaz and 25
    5 others, to defraud Plaintiff of his ownership interest in BoraJet, specifically through
    6 violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18
    7 U.S.C. §§ 1962(c), 1964(c) (“Substantive RICO”) (Claim I), violation of 18 U.S.C.
    8 § 1962(c) (“RICO Conspiracy”) (Claim II), violations of the New Hampshire
    9 Consumer Protection Statute, RSA 358:A (Claim III), and fraudulent misrepresentation
  10 (Claim IV). Dkt. 1. Plaintiff received the New Hampshire Court’s permission to serve
  11 Mr. Akol by email and did so on January 23, 2020. Dkt. 31; Akol Declaration, ¶ 1.
  12         The District of New Hampshire determined it lacked jurisdiction over Mr. Akol
  13 on July 27, 2020, Dkt. 73, and transfer to the Central District took place on October 21,
  14 2020. But Plaintiff still never served Mr. Akol. Akol Declaration, ¶ 2. Nearly two
  15 years passed until this Court’s issuance of an Order to Show Cause on August 3, 2022.
  16 Mr. Akol was forced to file a motion to dismiss on August 31, 2022 even though he had
  17 never been served. Dkt. 129. Plaintiff filed an Amended Complaint the next day. Dkt.
  18 130.
  19
  20                         APPLICABLE LEGAL STANDARDS
  21         Federal Rule of Civil Procedure 12(b)(5) permits a defendant to move for
  22 dismissal due to insufficient service of process. Under FRCP 4(m), “[i]f a defendant is
  23 not served within 90 days after the complaint is filed, the court – on motion or on its
  24 own after notice to the plaintiff – must dismiss the action without prejudice against that
  25 defendant or order that service be made within a specified time.”
  26         Service of process is integral to a court’s exercise of personal jurisdiction: “The
  27 familiar ‘minimum contacts’ test, coupled with statutory authorization, provides a basis
  28 for an exercise of jurisdiction, but ‘[s]ervice of process is the mechanism by which the

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    1 court [actually] acquires’ the power to enforce a judgment against the defendant’s
    2 person or property.” S.E.C. v. Ross, 504 F.3d 1138, 1140 (9th Cir. 2007) (quotation
    3 omitted). “Where a defendant moves to dismiss a complaint for lack of personal
    4 jurisdiction, the plaintiff bears the burden of demonstrating that jurisdiction is
    5 appropriate.” Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir.
    6 2004).
    7                                     ARGUMENT
    8 I.     PLAINTIFF’S CLAIMS AGAINST MR. AKOL SHOULD BE
    9        DISMISSED DUE TO ITS INEXCUSABLE FAILURE TO EFFECT
  10         SERVICE OF PROCESS
  11         At the time Plaintiff filed his Complaint in the District of New Hampshire, Mr.
  12 Akol was living abroad in Turkey. Akol Decl. ¶ 1. The Federal Rules allow service of
  13 process on an individual in a foreign country three ways: (1) by the Hague Convention,
  14 an international agreement governing service of process; (2) by a method that is
  15 reasonably calculated to give notice per specified criteria; or (3) “by other means not
  16 prohibited by international agreement, as the court orders.” Fed. R. Civ. P. 4(f).
  17 Plaintiff moved for permission to serve Mr. Akol under Rule 4(f)(3), arguing “service
  18 by e-mail is not prohibited by international agreement and satisfies due process” and
  19 thus could be ordered by the Court. Dkt. 29 ¶ 4. The District of New Hampshire
  20 granted Plaintiff’s request via minute order. Plaintiff then submitted an affidavit of
  21 service of process via email on Mr. Akol. Dkt. 31.
  22         But the District of New Hampshire later concluded that it had no personal
  23 jurisdiction over Mr. Akol. Dkt. 73 at 29-32. And a court without personal jurisdiction
  24 over a party cannot bind that party with its orders. Ins. Corp. of Ireland v. Compagnie
  25 des Bauxites de Guinee, 456 U.S. 694, 701 (1982) (“The validity of an order of a
  26 federal court depends upon that court’s having jurisdiction over both the subject matter
  27 and the parties.”).    Therefore, the District of New Hampshire’s order granting
  28 Plaintiff’s motion to serve Mr. Akol via email was not valid: Rule 4(f)(3) only permits

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    1 alternative service “as the court orders.” In short, there was no valid service on Mr.
    2 Akol in the New Hampshire matter. Nor was proper (or any) service effected after the
    3 transfer to the Central District of California.
    4        Now years later, Mr. Akol still has not received service in a manner compliant
    5 with the Federal Rules of Civil Procedure. Without proper service, this Court cannot
    6 not exercise personal jurisdiction over Mr. Akol. See Ross, 504 F.3d at 1138. Nor can
    7 service of process be made now. Federal Rule of Civil Procedure 4(m) sets a time limit
    8 for service of 90 days after the complaint is filed. If a defendant is not served within
    9 that period, a court “must dismiss the action” against that defendant. Fed. R. Civ. P.
  10 4(m).
  11         Here, years have passed since this deadline for service expired. The initial
  12 Complaint (“Complaint” or “Compl.”), Dkt. 1, was filed in the District of New
  13 Hampshire on February 18, 2019, more than three and a half years ago. The only
  14 service of process to Mr. Akol while the case was in the District of New Hampshire
  15 was service via email and that service is invalid as a matter of law. Dkt. 31. Transfer
  16 to the Central District of California was completed on October 10, 2020, nearly two
  17 years ago. Dkt. 84. Since then, not only has Mr. Akol not received any service of
  18 process, but the Plaintiff has only taken one step to prosecute this case—filing his
  19 Amended Complaint in response to Mr. Akol’s motion to dismiss, in pertinent part, for
  20 insufficient service of process. Dkt. 131.
  21         Under these circumstances, the proper remedy is dismissal. As this court has
  22 explained, once the time limit set in Rule 4(m) elapses, “the action will be dismissed
  23 without prejudice as to that defendant unless the plaintiff shows good cause.” Antelope
  24 Valley Allied Arts Ass’n v. Lancaster Redevelopment Agency, 2011 WL 13218029, at
  25 *3 (C.D. Cal. Dec. 20, 2011). “Good cause means a demonstration of good faith ... and
  26 some reasonable basis for noncompliance within the time specified in the rules.” Id.
  27 (quotation omitted). Here, Plaintiff has no case for good cause. Plaintiff did not
  28 “aggressively pursue serving” Mr. Akol when it learned that the District of New

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    1 Hampshire did not have personal jurisdiction over him (and therefore no power to
    2 permit alternative service). Id. Even now, Plaintiff has been stirred only by the recent
    3 Court order indicating that he had to do something or the case would be dismissed for
    4 failure to prosecute the action. Dkt. 126. Even after Mr. Akol filed his motion to
    5 dismiss on August 31, no efforts were made to serve him. As there has only been
    6 egregious neglect without excuse, and given the losses Mr. Akol has already
    7 experienced in having to defend himself against a complaint that has not yet even been
    8 served on him, immediate dismissal is amply warranted.
    9        Plaintiff may argue that, despite the lack of service, Mr. Akol nevertheless
  10 received actual notice of the Complaint. But actual notice cannot establish personal
  11 jurisdiction in this Circuit: “Although a defendant’s appearance to attack sufficiency of
  12 service is an admission that defendant has actual knowledge of the lawsuit, actual
  13 knowledge does not substitute for proper service of process.” Geiche v. City & Cnty. of
  14 San Francisco, 2009 WL 1948830, at *9 (N.D. Cal. July 2, 2009). Rather, “‘A federal
  15 court does not have jurisdiction over a defendant unless the defendant has been served
  16 properly under Fed.R.Civ.P. 4.’” Id. at *8 (quoting Direct Mail Specialists v. Eclat
  17 Computerized Techs., Inc., 840 F.2d 685, 688 (9th Cir.1988)). “‘[N]either actual notice
  18 nor simply naming the defendant in the complaint will provide personal jurisdiction’
  19 absent substantial compliance with its requirements.’” Id. (quoting Benny v. Pipes, 799
  20 F.2d 489, 492 (9th Cir.1986)).        Instead, “Once service of process is properly
  21 challenged, ‘the party on whose behalf [service] is made must bear the burden of
  22 establishing its validity.’” Id. at *9 (quotation omitted). Plaintiff cannot bear that
  23 burden.
  24                                     CONCLUSION
  25         The Court should dismiss Plaintiffs’ case against Mr. Akol for untimely and
  26 inexcusably insufficient lack of personal service.
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    1 DATED: September 9, 2022           QUINN EMANUEL URQUHART &
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